         Case 1:18-cv-02119-YK Document 1 Filed 11/02/18 Page 1 of 10




DJF:SSD

                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

WALTER DELLINGER, JR.                 :
and LORI L. DELLINGER,                :
          Plaintiffs                  :
                                      :
            v.                        :
                                      :
KARLI RICHARDS, RICHARDS              :
ORTHOPAEDIC CENTER AND                :
SPORTS MEDICINE, LLC, THE             :
CHAMBERSBURG HOSPITAL,                :
WOUND CENTER and SUMMIT               :
HEALTH,                               :
         Defendants                   :
                                      :
            v.                        :
                                      :
UNITED STATES OF AMERICA,             :
         Additional Defendant         :

                 NOTICE OF REMOVAL OF CIVIL ACTION

      David J. Freed, United States Attorney for the Middle District of

Pennsylvania, by Samuel S. Dalke, Assistant U.S. Attorney, on behalf of additional

defendant the United States of America, hereby gives notice of the removal of the

above-captioned matter from the Court of Common Pleas for Franklin County,

Pennsylvania, to this Court, pursuant to 28 U.S.C. § 1442(a)(1), 28 U.S.C. §

2679(d)(2), and/or 42 U.S.C. § 233(c), and states as follows:
           Case 1:18-cv-02119-YK Document 1 Filed 11/02/18 Page 2 of 10




A.    Prior Substitution, Removal and Dismissal of the United States of
      America in this Action

      1.      On or about April 17, 2017, Plaintiffs Walter Dellinger, Jr. and Lori L.

Dellinger (the “Dellingers”) filed a complaint in the Court of Common Pleas for

Franklin County, Pennsylvania, No. 2017-cv-1603 (the “State Action”) against

defendants Karli Richards, DPM, FACFAS, CWSP, Ganga Ramidi, MD, Richards

Orthopaedic Center and Sports Medicine, LLC, The Chambersburg Hospital,

Wound Center, and Summit Health. See Order from Judge Kane on 10/31/17 (Doc.

8) in Case 1:17-cv-1537, Exhibit 1 hereto; see also Docket for MDPA Case 1:17-cv-

1537 (Kane), Exhibit 2 hereto. The Dellingers’ claims relate to surgical procedures

and the subsequent treatment of plaintiff Walter Dellinger’s right foot in 2015 and

2016 at Chambersburg Hospital. Id.

      2.      On August 28, 2017, the United States substituted itself as a defendant

in place of Dr. Ganga Ramidi, one of the treating physicians, and removed the State

Action to the United States District Court for the Middle District of Pennsylvania.

Id.

      3.      On October 31, 2017, Judge Kane dismissed plaintiffs’ claims against

the United States for lack of subject matter jurisdiction due to the plaintiffs’ failure

to exhaust their administrative remedies, and remanded the remaining claims and

parties to the Court of Common Pleas for Franklin County. See Order from Judge

Kane on 10/31/17 (Doc. 8) in Case 1:17-cv-1537, Exhibit 1 hereto.

                                           2
           Case 1:18-cv-02119-YK Document 1 Filed 11/02/18 Page 3 of 10




B.    Plaintiffs Are Now Time-Barred, But Defendants Filed a Third Party
      Joinder Complaint

      4.      On October 13, 2017, plaintiff Walter Dellinger submitted an

administrative tort claim to the Department of Health & Human Services (HHS)

claiming that Dr. Ramidi committed medical malpractice by failing to properly

diagnose and treat his medical condition on November 18, 2015. See Third party

joinder complaint, Exhibit 3 hereto, at ¶¶ 13-17 and Exs. C and D.

      5.      On February 22, 2018, HHS issued a “notice of final determination”

denying plaintiff’s administrative tort claim, and instructing that plaintiff has six (6)

months to either file for reconsideration with HHS or suit in federal court against the

United States. Id.

      6.      Following the final administrative denial, the plaintiff did not file suit

against the United States or seek reconsideration, and the plaintiff’s claims are now

time-barred by the statute of limitations. 28 U.S.C. § 2401(b); Gordon v. Pugh, 235

Fed.Appx. 51, 53 (3d Cir. 2007); Seiss v. United States, 792 F. Supp. 2d 729, 732

(D.N.J. 2011); see also Robinson v. United States, 3:13-cv-1106, 2016 WL 4942069,

at *6 (M.D.Pa. May 10, 2016) (Carlson, J.) (explaining that the plaintiff must both

tender the claim to the agency within 2 years, and also proceed to court within 6

months after the agency denies the claim).

      7.      On September 27, 2018, however, defendants Chambersburg Hospital

and Summit Health filed a third party joinder complaint in the State Action against

                                           3
           Case 1:18-cv-02119-YK Document 1 Filed 11/02/18 Page 4 of 10




Dr. Ganga Ramidi for contribution and indemnification. See Third party joinder

complaint and service, Exhibit 3 hereto. The third party plaintiffs served their

joinder complaint on or about October 9, 2018.

      8.      The third party joinder complaint does not assert new allegations

against Dr. Ramidi, but incorporates plaintiffs’ allegations against Dr. Ramidi and

pleads claims for indemnification and contribution from Dr. Ramidi “[t]o the extent

that the allegations of negligence against Ganga Ramidi, M.D. set forth in Plaintiffs’

Amended Complaint are proven at the time of trial.” Id. at ¶¶ 18-21.

C.    Another Substitution and Removal of the State Action is Required Due
      to the Joinder Complaint

      9.      As already established in the prior federal action, the original defendant

(now named as an additional defendant) Ganga Ramidi, MD, was an employee of

Keystone Rural Health Center from September 3, 2013 through December 31, 2015,

which includes the times relevant to the plaintiffs’ allegations in this matter. See

Order from Judge Kane on 10/31/17 (Doc. 8) in Case 1:17-cv-1537, Exhibit 1 hereto;

see also Plaintiffs’ Amended Complaint, attached as Ex. B to the Third party joinder

complaint, Exhibit 3 hereto.

      10.     As already established in the prior federal action, pursuant to the

provisions of the Federally Supported Health Centers Assistance Act (FSHCA) of

1992, 42 U.S.C. ' 233(g)-(n), the United States Department of Health and Human

Services deemed Ganga Ramidi, MD a covered employee of the United States for

                                           4
            Case 1:18-cv-02119-YK Document 1 Filed 11/02/18 Page 5 of 10




purposes of the Federal Tort Claims Act (FTCA), 28 U.S.C. '' 2671, et seq. as result

of her work for Keystone Rural Health Center. See Declaration of Meredith Torres

attached as Exhibit 4 hereto, at ¶¶ 5-6; see also Deeming Letters attached as Exhibit

5 hereto.

      11.      The FSHCA extends FTCA coverage to the grantees that have been

deemed covered under Section 233(h) and certain of its officers, employees, and

contractors.

      12.      Pursuant to the FSHCA and the Westfall Act, upon certification “that

the defendant employee was acting within the scope of his office or employment at

the time of the incident out of which the claim arose,” the State Action “shall be

removed without bond at any time before trial” to the Middle District of

Pennsylvania. 28 U.S.C. § 2679(d)(2); see also 42 U.S.C. § 233(c).

      13.      On August 28, 2017, as part of the prior action, Kate L. Mershimer,

Chief, Civil Division, United States Attorney's Office, certified that Ganga Ramidi,

MD “was acting within the scope of her employment as an employee of the United

States at all relevant times during which she provided medical treatment to Walter

Dellinger, Jr.” See Certification attached as Exhibit 6 hereto. 1



1
 The Attorney General has delegated certification authority to the United States
Attorneys. 28 C.F.R. ' 15.3. In turn, the United States Attorney for the Middle
District of Pennsylvania has delegated certification authority to the Chief of the Civil
Division, United States Attorney's Office.
                                           5
         Case 1:18-cv-02119-YK Document 1 Filed 11/02/18 Page 6 of 10




      14.   As result, the State Action is one which the United States may properly

remove to this Court pursuant to subsection 28 U.S.C. § 1442(a)(1) because:

            (1) thirty days have not yet passed since receipt of the third-party
                complaint by Dr. Ramidi on or about October 9, 2018;

            (2) this joinder complaint is a civil action brought against an employee
                of the United States Government sued for an act under color of
                their federal office, because Ganga Ramidi, MD was acting within
                the scope of her employment as an employee of the United States
                when she was alleged to have provided negligent medical
                treatment to Walter Dellinger, Jr.; and

            (3) the third-party defendant possesses colorable federal defenses to
                the acts alleged in the third-party complaint, including lack of
                subject matter jurisdiction and sovereign immunity.

      15.   In addition, authority also exists for the United States to properly

remove this action to this Court pursuant to 42 U.S.C. § 233(c) and 28 U.S.C. §

2679(d)(2) because:

            (1)    trial has not yet been had of this action;

            (2)    this joinder complaint is a civil action brought against an
                   employee of the United States Government;

            (3)    proper certification has been provided pursuant to FSHCA and
                   the Westfall Act that Ganga Ramidi, MD was acting within the
                   scope of her employment as an employee of the United States
                   when she was alleged to have provided negligent medical care or
                   treatment to Walter Dellinger, Jr.

      16.   Moreover, “such action or proceeding shall be deemed to be an action

or proceeding brought against the United States . . . and the United States shall be

substituted as the party defendant.” 28 U.S.C. § 2679(d)(2); 42 U.S.C. § 233(c);

                                          6
         Case 1:18-cv-02119-YK Document 1 Filed 11/02/18 Page 7 of 10




see also Feaster v. Federal Bureau of Prisons, 366 F. App’x 322, 323 (3d Cir. 2010)

(“The only proper defendant in an FTCA suit is the United States itself.”); Zierke v.

United States, 3:CV-14-0350, 2016 WL 1189399, at *4 (M.D.Pa. Mar. 22, 2016)

(“All actions brought pursuant to the FTCA must be brought against the United

States of America and not in the name of the allegedly negligent agency, entity or

employee. The only proper party in an FTCA action is the United States of

America.”) (citations omitted).

      17.    Notice of Removal of this action will be provided to the Prothonotary

of the Court of Common Pleas of Franklin County this day, November 2, 2018.




                                         7
         Case 1:18-cv-02119-YK Document 1 Filed 11/02/18 Page 8 of 10




      WHEREFORE, the United States respectfully give notice that the above-

captioned matter is removed to the United States District Court for the Middle

District of Pennsylvania pursuant to 28 U.S.C. § 1442(a)(1), 28 U.S.C. § 2679(d)(2),

and/or 42 U.S.C. § 233(c), and that the United States is substituted as the additional

defendant in place of Ganga Ramidi, MD.

                                              Respectfully submitted,

                                              DAVID J. FREED
                                              United States Attorney

                                              s/ Samuel S. Dalke
                                              SAMUEL S. DALKE
                                              Assistant U.S. Attorney
                                              PA Bar No. 311803
                                              228 Walnut Street, 2nd Floor
                                              P.O. Box 11754
                                              Harrisburg, PA 17108-1754
                                              Tel: (717) 221-4482
                                              Fax: (717) 221-4493
                                              samuel.s.dalke@usdoj.gov
Date: November 2, 2018




                                          8
         Case 1:18-cv-02119-YK Document 1 Filed 11/02/18 Page 9 of 10




DJF:SSD

                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

WALTER DELLINGER, JR.                 :
and LORI L. DELLINGER,                :
          Plaintiffs                  :
                                      :
            v.                        :
                                      :
KARLI RICHARDS, RICHARDS              :
ORTHOPAEDIC CENTER AND                :
SPORTS MEDICINE, LLC, THE             :
CHAMBERSBURG HOSPITAL,                :
WOUND CENTER and SUMMIT               :
HEALTH,                               :
         Defendants                   :
                                      :
            v.                        :
                                      :
UNITED STATES OF AMERICA,             :
         Additional Defendant         :

                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that he is an employee in the Office of the
United States Attorney for the Middle District of Pennsylvania and is a person of
such age and discretion as to be competent to serve papers.

      That on this 2nd day of November 2018, he served a copy of the foregoing

                 NOTICE OF REMOVAL OF CIVIL ACTION

by e-mail and by placing a copy in a postpaid envelope addressed to the persons
hereinafter named, at the places and addresses stated below, which is the last known
addresses, and by depositing said envelopes and contents in the United States Mail
at Harrisburg, Pennsylvania:

Richard C. Angino, Esq.
       Case 1:18-cv-02119-YK Document 1 Filed 11/02/18 Page 10 of 10




Angino Law Firm
4503 N. Front Street
Harrisburg, PA 17110

Kevin Osborne, Esq.
Marshall Dennehey Warner Coleman & Goggin
100 Corporate Center Drive, Suite 201
Camp Hill, PA 17011

Michael Badowski, Esq.
Margolis Edelstein
3510 Trindle Road
Camp Hill, PA 17011



                                  /s/ Samuel S. Dalke
                                  SAMUEL S. DALKE
                                  Assistant U.S. Attorney
